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                  Case: 1:21-cv-00307 Document #: 1 Filed: 01/19/21 Page 1 of 9 PageID #:1                      .(
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                                                UNITED STATES DISTRICT COURT
                                                NORTHERN DISTRICT OF ILLINOIS
                                                      EASTERN DIVISION



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                                                                                THOMAS G. BRUTON
                                                                              CLERK, U.S. DISTRICT COURT
               (Enter above the full name
               of the plaintiff or plaintiffs in
               this action)
                                                                         21+v-O0307
                                         vs.                       Judge Edmond E. Gfaamg
                                                                tagistrate Jud-ge Jeftrry Sate
               t^he h,t*b\ta e.: '- CorAt*J                                          PC7
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               (Enter above the full name of ALL
               defendants in this action. Do not
               use "et al.")

     .         CHECK ONE ONLY:

                               COMPLAINT UNDER THE CIVIL RIGHTS ACT; TITLE                  42   SECTION 1983
                               U.S. Code (state, county, or municipal defendants)



                               28 SECTION 1331 U.S. Code (federal defendants)

                               OTHER (cite statute, if known)

               BEFORE FILLING OUT THIS COMPI.,,IINT, PLEASE REFER TO ,,INSTRUCTIONS FOR
               FILING." FOLLOW THESE INSTRACTIONS CAREFALLY.
      Case: 1:21-cv-00307 Document #: 1 Filed: 01/19/21 Page 2 of 9 PageID #:2




I.    Plaintiff(s):

                                           e,                 (\   *   R 890a3
      A.      Name: PhntA                        cocPQ

      B.      List all aliases:

      C.      Prisoner identification        number,
                                                              * Rt ?o A3
      D.      Place of present confinement:
                                                             P,o, Berx l6uo

      E.      Address: l. i   Jc 61il, A'LL' r,t 6 9-( ( ro ga.{ ' coPAe <*ia"/a( - C€'J+(8

      (If there is more than one plaintiff, then each plaintiffmust list his or her name, aliases, I.D.
      number, place of confinement, and current address according to the above format on a
      separate sheet of paper.)

il.   Defendant(s):
      (In A below, place the full name of the first defendant in the first blank, his or her official
      position in the second blank, and his or her place of employment in the third blank. Space
      for two additional defendants is provided in B and C,)

      A.      Defendant:     Tyt   A   l+h   e   - E,         Cosh LeN

             Title: Co*gf Y.               15€

                                                lC   o   o   s' crrr'F Aur       Cot-r.Af Rooi.ra.Sct3     ahicx?{''{LL
              Place   ofEmployment:

      B.      Defendant: SYAf€'s n              l+oANef -Scc'l* L' cLAAK

             Title:                Ye J a t-         'Slnle's ntioarscl
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                                                                                        Racrt
             Place of Employment:

      C.     Defendant:                oRN€v --fhe           t LY PR'^sa'l(

             Title:     >4     n t ^ Att oR Ne,,,, "td o R€PResglltej wte /''t Con{t
                                       i
                                   g i O T,tle sf UAn    s&eee* +{ 5q-il( 2&1
             Place of Employmslfi; C.L;.a?c, ztc,

      (If you have more than three defendants, then all additional                  defendants must be listed
      according to the above format on a separate sheet of paper.)




                                                                                                   Revised 912007
     Case: 1:21-cv-00307 Document #: 1 Filed: 01/19/21 Page 3 of 9 PageID #:3




4.    Defendant,                                                                                                         ,ls
                                                                             known)
                                              (name, badge number if
                                                                                       )#I:'     ,'   +t"-
                                                                                                        L.rc7 caa*{ at, n(

       E   an officer or official employed    by 5*r ' '
                                                                 -fit: l:J;';I                                            ;



           (r..*   B oc   n)   f,*r:( u*r{Ae,r,."rfJlTff:tjJi:"^l-::'::"Ifil?-                             ccAA( or
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       Eanindividualnotemployedbyagovernmentalentity.- Y.rJ_(
                                                                                  AnC 7l;ar. Al+ot(trcz
Ifthere are additionat defendants, Jill in the above information as to the Jirst-named
defendant and complete the information for each additional defendant on an extra sheet.

5.     The municipality, township or county under whose authority defendant officer or official

       actedis cooK'cou*s47                                                            . As to plaintiff s federal

       constitutional claims, the municipality, township or county is a defendant only                     if
       custom or policy allegations are made at paragraph 7 below.

6.     On or about                                at approximately                                    !   a.m.   n   p.m.
                          (month,daY, Year)
                                                                                                                     #
       plaintiff was present in the municipality (or unincorporated area) of e a'^*t R ccn
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                                                     , in the County og
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                                                Cd*(6         R aa*t   *d-o   3
       State of Illinois, at C ool,
                                    Ca*rrt7
                                   (identify location   as   precisely as possible)


       when defendant violated plaintiff s civil rights as follows (Place X in each box that
       applies):

       tr       arrested or seized plaintiff without probable cause to believe that plaintiff had
                committed, was committing or was about to commit a crime;
       tr       searched plaintiff or his property without a warrant and without reasonable cause;
       tr       used excessive force upon plaintiff;
       h        failed to intervene to protect plaintiff from violation of plaintiff s civil rights by
                one or more other defendants;
        !       failed to provide plaintiff with needed medical care;
        E       conspired together to violate one or more of plaintiff s civil rights;
        !       Other:
       Case: 1:21-cv-00307 Document #: 1 Filed: 01/19/21 Page 4 of 9 PageID #:4




III.   List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
       court in the United States:

       A.     Name of case and docket     number:                        p o il (


       B.     Aooroximate date of filine    lawsuit:                     r./ o   u   q


       C.     List all plaintiffs (if you had co-plaintiffs), including any                       aliases:   tI s tJC
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                                                                                                             ti

       D.     List all defendants:                        i.lo   r.l e


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       E.     Court in which the lawsuit was filed (if federal court, name the district; if state court,
              name the county):                r.l otl(


       F.     Name ofjudge to whom case was           assigned: { o rJ (
                                                                                         No xtq


       G.     Basic claim   made:               p"4(
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       H.     Disposition of this case (for example: Was the case dismissed? Was it appealed?
              Is it still pending?):           r.lo J (
                                                      a{
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       I.    Anoroximate date of     disposition:                rJo     d(


IF YOU HAVE FILED MORE THAN ONE LAWSI,IIT, TIIEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING TITIS SAME
FORMAT. REGARDLESSpF HOW MAIIY CASES YOU HAVE PREyIOUSLY tr'ILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DIS]VflSSAL OF YOUR CASE. CO.
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAYE FILED.



                                                                                                                  Revised   92007
          Case: 1:21-cv-00307 Document #: 1 Filed: 01/19/21 Page 5 of 9 PageID #:5




 IV.      Statement of Claim:

          State here as briefly as possible the facts of your case. Describe how each defendant is
          involved, including names, dates, andplaces. Do not give any legal arguments or cite any
          cases or statutes. If you intend to allege a number of related claims, number and set forth
          each claim in a separate paragraph. (Use as much space as you need. Attach exta sheets if
          necessary.)

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              Case: 1:21-cv-00307 Document #: 1 Filed: 01/19/21 Page 6 of 9 PageID #:6
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      Case: 1:21-cv-00307 Document #: 1 Filed: 01/19/21 Page 7 of 9 PageID #:7




14.    Plaintiff also claims violation of rights that may be protected by the laws of Illinois, such

       as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,

       and/or any other claim that may be supported by the allegations of this complaint.




       WIIEREFORE, plaintiff            asks for the    following relief:

      G.X      Damages to compensate for all bodily harm,

               loss of income, loss of enjoyment of life, property damage and any other injuries

               inflicted by defendant;

       B.      B    (Place   X in box if you are seeking punitive damages.) Punitive damages

               against the individual defendant; and

       C. ,(   Such injunctive, declaratory, or other relief as may be appropriate, including

attorney's fees and reasonable expenses as authorized by 42 U.S.C. $ 1988.

       Plaintiff   s signature:

       Plaintiff s rrame (print clearly or type) :     Phata c. cooPe4oRS?6d3
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            ft      taSA,J -   CdE   Fect;6;rftL'Lc,JteA
        Plaintiff s telephone number:          (    )       rJ   ortc

       Plaintiff s email address (if you prefer to be contacted by email): rlorJQ

                                   N o r.l(

15.    Ptaintiff has previously filed a case in this district.             fl   Yes E No

       If yes, please   list the cases below.



Any add.itional plaintffi must sign the complaint and provide the same information as the            lirst
plaintiff, An additional signature page may be added
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